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                    Superior Court of California, County of Los Angeles



                          ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                 INFORMATION PACKAGE

 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.




What isADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
    •   Saves Time: ADR is faster than going to trial.
   •    Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   •    Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   •    Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or on line.


Disadvantages of ADR
   •    Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
   •    No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.


Main Types of ADR

   1.   Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
        settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

   2.   Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
        strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
        acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                    •    want to work out a solution but need help from a neutral person.
                    •    have communication problems or strong emotions that interfere with resolution.
                Mediation may not be appropriate when the parties
                    •    want a public trial and want a judge or jury to decide the outcome.
                    •    lack equal bargaining power or have a history of physical/emotional abuse.



   LASC CIV 271 Rev. 02/22
                                                                                                                   Page 1 of 2
   For Mandatory Use
                                                                                                    Exhibit A – Page 19
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                                      How to Arrange Mediation in Los Angeles County

       Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

            a. The Civil Mediation Vendor Resource List
                 If all parties in an active civil case agree to mediation, they may contact these organizations
                 to request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
                 cases).

                      •   ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                          (949) 863-9800
                      •   Mediation Center of Los Angeles Program Manager info@mediationLA.org
                          (833} 476-9145



       These organizations cannot accept every case and they may decline cases at their discretion. They may
       offer online mediation by video conference for cases they accept. Before contacting these organizations,
       review important information and FAQs at www.lacourt.org/ADR.Res.List

       NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
       claims cases.

            b.   Los Angeles County Dispute Resolution Programs
                 https ://h rc. lacou nty .gov/wp-content/u pl oads/2020/05/D RP-Fact-Sheet-23 Octo ber19-Cu rrent-as-of-October -2019-1. pdf


                 Day of trial mediation programs have been paused until further notice.

                 Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
                 should carefully review the Notice and other information they may receive about (ODR)
                 requirements for their case.

           c.    Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

       3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
       arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
       decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
       trial after the arbitrator'sdecision. For more information about arbitration, visit
       http://www.courts.ca.gov/programs-adr.htm

       4. Mandatory SettlementConferences(MSC): MSCs are ordered by the Court and are often held close
       to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
       officer who does not make a decision but who instead assists the parties in evaluating the strengths and
       weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
       programs for civil cases, visit http://www.lacourt.org/division/civil/C10047.aspx

       Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/C10109.aspx
       For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm


LASC CIV 271 Rev. 02/22
For Mandatory Use                                                                                                Exhibit A – Page 20
                                                                                                                      Page2of2
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                                  VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                     The Early Organizational Meeting Stipulation, Discovery
                                  Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California      voluntary stipulations entered into by the parties. The parties
County of Los Angeles

                                  may enter into one, two, or all three of the stipulations;
                                  however, they may not alter the stipulations as written,
  LACBA                           because the Court wants to ensure uniformity of application.
 Los Angeles County
 Bar Association                  These stipulations are meant to encourage cooperation
 Litigation Section

Los Angeles County
                                  between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section            manner that promotes economic case resolution and judicial
                                  efficiency.
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                                      The       following   organizations   endorse   the   goal   of
Consumer Attorneys
Association of Los Angeles        promoting efficiency in litigation and ask that counsel
                                  consider using these stipulations as a voluntary way to
                                  promote communications and procedures among counsel
                                  and with the court to fairly resolve issues in their cases.

                                  ♦Los Angeles County Bar Association Litigation Section♦
Southern California
Defense Counsel

                                                ♦ Los Angeles County Bar Association
                                                Labor and Employment Law Section♦

Association of
Business Trial Lawyers                ♦Consumer Attorneys Association of Los Angeles♦

                                            ♦Southern California Defense Counsel♦

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California Employment
                                            ♦Association of Business Trial Lawyers♦

Lawyers Association
                                       ♦California Employment Lawyers Association♦
                                                                                        Exhibit A – Page 21
    LACIV 230 (NEW)
    LASC Approved 4-11
    Case 2:24-cv-05712-FLA-SSC Document 1-4 Filed 07/08/24 Page 4 of 11 Page ID #:23


N A M E A N D A D D R E S S O F A TT O R N E Y O R P A R TY Wl T H O IJT A TT O R N E Y :                 STATE BAR NUM BER            R e s e rv e d fo r C le rk 's F ile S ta m p




          TELEPHONE NO.:                                                                    FAX NO. (Optional):
 E-MAIL ADDRESS (Optional)
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT


                                                                                                                              CASE NUMBER:
                  STIPULATION - EARLY ORGANIZATIONAL MEETING

          This stipulation is intended to encourage cooperation among the parties at an early stage in
          the litigation and to assist the parties in efficient case resolution.

          The parties agree that:

           1. The parties commit to conduct an initial conference (in-person or via teleconference or via
              videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
              whether there can be agreement on the following:

                    a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                       amendment as of right, or if the Court would allow leave to amend, could an amended
                       complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                       agree to work through pleading issues so that a demurrer need only raise issues they cannot
                       resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                       would some other type of motion be preferable? Could a voluntary targeted exchange of
                       documents or information by any party cure an uncertainty in the pleadings?

                   b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                      employment case, the employment records, personnel file and documents relating to the
                      conduct in question could be considered "core." In a personal injury case, an incident or
                      police report, medical records, and repair or maintenance records could be considered
                      "core.");

                   c.        Exchange of names and contact information of witnesses;

                   d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                      indemnify or reimburse for payments made to satisfy a judgment;

                   e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                      or resolution of the case in a manner that preserves objections or privileges by agreement;

                   f.       Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                            phases of the case. Also, when and how such issues can be presented to the Court;

                   g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                      court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                      and whether the parties wish to use a sitting judge or a private mediator or other options as
          LACIV 229 (Rev 02/15)                                                                          Exhibit A – Page 22
          LASC Approved 04/11                                   STIPULATION - EARLY ORGANIZATIONAL MEETING
          For Optional Use                                                                                                                                                 Page 1 of 2
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              discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
              complaint;

         h.   Computation of damages, including documents, not privileged or protected from disclosure, on
              which such computation is based;

         i.   Whether the case is suitable for the Expedited Jury Trial procedures (see information at
              www.lacourt.org under "Civil' and then under "General Information").

    2.        The time for a defending party to respond to a complaint or cross-complaint will be extended
              to                         for the complaint, and                            for the cross-
                        (INSERT DATE)                                      (INSERT DATE)
              complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
              and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
              been found by the Civil Supervising Judge due to the case management benefits provided by
              this Stipulation. A copy of the General Order can be found at www.lacourt.org under "Civil',
              click on "General Information", then click on" Voluntary Efficient Litigation Stipulations".

    3.        The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
              and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
              results of their meet and confer and advising the Court of any way it may assist the parties'
              efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
              the Case Management Conference statement, and file the documents when the CMC
              statement is due.

    4.        References to "days" mean calendar days, unless otherwise noted. If the date for performing
              any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
              for performing that act shall be extended to the next Court day

    The following parties stipulate:
    Date:
                                                                ►
                 (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
    Date:
                                                                ►
                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
    Date:
                                                                ►
                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
    Date:
                                                                ►
                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
    Date:
                                                                ►
                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
    Date:
                                                                ►
                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
    Date:
                                                                ►
                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR

                                                                      Exhibit A – Page 23
    LACIV 229 (Rev 02/15)
    LASC Approved 04/11      STIPULATION - EARLY ORGANIZATIONAL MEETING          Page 2 of 2
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     Case 2:24-cv-05712-FLA-SSC Document 1-4 Filed 07/08/24 Page 6 of 11 Page ID #:25

N A M E A N D A D D R E S S O F A TT O R N E Y O R P A R T Y W IT H O U T A TT O R N E Y :                 S T A T E B A R N U M B ER            R e se rv e d fo r C le rk 's F ile S ta m p




          TELEPHONE NO.:                                                                     FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                                                        CASE NUMBER:

                                  STIPULATION - DISCOVERY RESOLUTION

           This stipulation is intended to provide a fast and informal resolution of discovery issues
           through limited paperwork and an informal conference with the Court to aid in the
           resolution of the issues.

           The parties agree that:

           1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
              the moving party first makes a written request for an Informal Discovery Conference pursuant
              to the terms of this stipulation.

          2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
             and determine whether it can be resolved informally. Nothing set forth herein will preclude a
             party from making a record at the conclusion of an Informal Discovery Conference, either
             orally or in writing.

          3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
             presented, a party may request an Informal Discovery Conference pursuant to the following
             procedures:

                              a. The party requesting the Informal Discovery Conference will:

                                    i.           File a Request for Informal Discovery Conference with the clerk's office on the
                                                 approved form (copy attached) and deliver a courtesy, conformed copy to the
                                                 assigned department;

                                   ii.           Include a brief summary of the dispute and specify the relief requested; and

                                 iii.           Serve the opposing party pursuant to any authorized or agreed method of service
                                                that ensures that the opposing party receives the Request for Informal Discovery
                                                Conference no later than the next court day following the filing.

                              b. Any Answer to a Request for Informal Discovery Conference must:

                                    i.          Also be filed on the approved form (copy attached);

                                   ii.           Include a brief summary of why the requested relief should be denied;
          LACIV 036 (new)                                                                                                                        Exhibit A – Page 24
          LASC Approved 04/11                                                STIPULATION-DISCOVERY RESOLUTION
          For Optional Use                                                                                                                                                        Page 1 of 3
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            iii.   Be filed within two (2) court days of receipt of the Request; and

            iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                   method of service that ensures that the opposing party receives the Answer no
                   later than the next court day following the filing.

     c.   No other pleadings, including but not limited to exhibits, declarations, or attachments, will
          be accepted.

     d. If the Court has not granted or denied the Request for Informal Discovery Conference
        within ten (10) days following the filing of the Request, then it shall be deemed to have
        been denied. If the Court acts on the Request, the parties will be notified whether the
        Request for Informal Discovery Conference has been granted or denied and, if granted,
        the date and time of the Informal Discovery Conference, which must be within twenty (20)
        days of the filing of the Request for Informal Discovery Conference.

     e. If the conference is not held within twenty (20) days of the filing of the Request for
        Informal Discovery Conference, unless extended by agreement of the parties and the
        Court, then the Request for the Informal Discovery Conference shall be deemed to have
        been denied at that time.

 4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
    without the Court having acted or (c) the Informal Discovery Conference is concluded without
    resolving the dispute, then a party may file a discovery motion to address unresolved issues.

 5. The parties hereby further agree that the time for making a motion to compel or other
    discovery motion is tolled from the date of filing of the Request for Informal Discovery
    Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
    filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
    by Order of the Court.

     It is the understanding and intent of the parties that this stipulation shall, for each discovery
     dispute to which it applies, constitute a writing memorializing a "specific later date to which
     the propounding [or demanding or requesting] party and the responding party have agreed in
     writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
     2033.290(c).

 6. Nothing herein will preclude any party from applying ex pa rte for appropriate relief, including
    an order shortening time for a motion to be heard concerning discovery.

 7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
    terminate the stipulation.

 8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
    any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
    for performing that act shall be extended to the next Court day.



 LACIV 036 (new)                                                                       Exhibit A – Page 25
 LASC Approved 04/11         STIPULATION-DISCOVERY RESOLUTION
 For Optional Use                                                                               Page 2 of 3
Case 2:24-cv-05712-FLA-SSC Document 1-4 Filed 07/08/24 Page 8 of 11 Page ID #:27
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    The following parties stipulate:

    Date:

                   (TYPE OR PRINT NAME)
                                                     ►            (ATTORNEY FOR PLAINTIFF)
    Date:

                   (TYPE OR PRINT NAME)
                                                     ►           (ATTORNEY FOR DEFENDANT)
    Date:

                   (TYPE OR PRINT NAME)
                                                     ►           (ATTORNEY FOR DEFENDANT)
    Date:

                   (TYPE OR PRINT NAME)
                                                     ►           (ATTORNEY FOR DEFENDANT)
    Date:

                   {TYPE OR PRINT NAME)
                                                     ►   {ATTORNEY FOR
    Date:

                   {TYPE OR PRINT NAME)
                                                     ►   {ATTORNEY FOR
    Date:

                   (TYPE OR PRINT NAME)
                                                     ►   (ATTORNEY FOR




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    LACIV 036 (new)                                                            Exhibit A – Page 26
    LASC Approved 04/11           STIPULATION-DISCOVERY RESOLUTION
    For Optional Use                                                                          Page 3 of 3
    Case 2:24-cv-05712-FLA-SSC Document 1-4 Filed 07/08/24 Page 9 of 11 Page ID #:28


N A M E A N D A D D R E S S O F A TT O R N E Y O R P A R T Y W IT H O U T A T TO R N E Y :                 S T A T E B A R N U M B ER            Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                                                     FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                                                        CASE NUMBER:
                                        INFORMAL DISCOVERY CONFERENCE
                         (pursuant to the Discovery Resolution Stipulation of the parties)
           1. This document relates to:
                              D                  Request for Informal Discovery Conference
                              D                  Answer to Request for Informal Discovery Conference
           2. Deadline for Court to decide on Request:-------- (insert date 10 calendar days following filing of
                    the Request).

           3. Deadline for Court to hold Informal Discovery Conference:                                                                             (insert date 20 calendar
                    days following filing of the Request).

          4. For a Request for Informal Discovery Conference, briefly describe the nature of the
             discovery dispute, including the facts and legal arguments at issue. For an Answer to
             Request for Informal Discovery Conference, briefly describe why the Court should deny
             the requested discovery, including the facts and legal arguments at issue.




                                                                                                              ---------- -------- ---

          LACIV 094 (new)
                                                                                  INFORMAL DISCOVERY CONFERENCE                                 Exhibit A – Page 27
          LASC Approved 04/11
          For O tional Use                                        (pursuant to the Discovery Resolution Stipulation of the parties)
                   Print                                         Save     j                                                                                 j_ Clear               J
  Case 2:24-cv-05712-FLA-SSC Document 1-4 Filed 07/08/24 Page 10 of 11 Page ID #:29


N A M E A N D A D D R E S S O F A TT O R N E Y O R P A R T Y W IT H O U T A TT O R N E Y :                 S T A T E B A R N U M B ER            R e s e rv e d fo r C le rk's F ile S ta m p




          TELEPHONE NO.:                                                                     FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                                                        CASE NUMBER:

                       STIPULATION AND ORDER - MOTIONS IN LIMINE


           This stipulation is intended to provide fast and informal resolution of evidentiary
           issues through diligent efforts to define and discuss such issues and limit paperwork.


           The parties agree that:

           1. At least __ days before the final status conference, each party will provide all other
              parties with a list containing a one paragraph explanation of each proposed motion in
              limine. Each one paragraph explanation must identify the substance of a single proposed
              motion in limine and the grounds for the proposed motion.

          2. The parties thereafter will meet and confer, either in person or via teleconference or
             videoconference, concerning all proposed motions in limine. In that meet and confer, the
             parties will determine:

                    a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                       stipulate, they may file a stipulation and proposed order with the Court.

                    b. Whether any of the proposed motions can be briefed and submitted by means of a
                       short joint statement of issues. For each motion which can be addressed by a short
                       joint statement of issues, a short joint statement of issues must be filed with the Court
                        10 days prior to the final status conference. Each side's portion of the short joint
                       statement of issues may not exceed three pages. The parties will meet and confer to
                       agree on a date and manner for exchanging the parties' respective portions of the
                       short joint statement of issues and the process for filing the short joint statement of
                       issues.

          3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
             a short joint statement of issues will be briefed and filed in accordance with the California
             Rules of Court and the Los Angeles Superior Court Rules.



          LACIV 075 (new)                                                                                                                       Exhibit A – Page 28
          LASC Approved 04/11                                     STIPULATION AND ORDER - MOTIONS IN LIMINE
          For Optional Use                                                                                                                                                        Page 1 of 2
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     The following parties stipulate:

     Date:

                   (TYPE OR PRINT NAME)
                                                     ►
                                                              (ATTORNEY FOR PLAINTIFF)
     Date:

                   (TYPE OR PRINT NAME)
                                                     ►
                                                             (ATTORNEY FOR DEFENDANT)
     Date:

                   (TYPE OR PRINT NAME)
                                                     ►
                                                             (ATTORNEY FOR DEFENDANT)
     Date:
                                                     ►
                   (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
     Date:

                   (TYPE OR PRINT NAME)
                                                     ►
                                                         (ATTORNEY FOR
     Date:

                   (TYPE OR PRINT NAME)
                                                     ►
                                                         (ATTORNEY FOR
     Date:

                   (TYPE OR PRINT NAME)
                                                     ►
                                                         (ATTORNEY FOR



     THE COURT SO ORDERS.

       Date:
                                                                  JUDICIAL OFFICER




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                                                                             Exhibit A – Page 29
     LACIV 075 (new)
     LASC Approved 04/11     STIPULATION AND ORDER - MOTIONS IN LIMINE                   Page 2 of 2
